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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

MARLON BROWN,

             Plaintiff,                            CIVIL ACTION FILE
v.                                                 NO. 1:21-CV-00010-SDG

PATRICK DAVID FLUELLEN.

             Defendant.


          RULE 5.4 CERTIFICATE OF SERVICE OF DISCOVERY

      Pursuant to Rule 5.4 of the Local Rules of the United States District Court

for the Northern District of Georgia, I hereby certify this day that I have served

upon all parties of record via email the following:

           DEFENDANT’S            RESPONSES          AND      OBJECTIONS          TO

             PLAINTIFF’S       FIRST     REQUEST        FOR    PRODUCTION          OF

             DOCUMENTS AND THINGS

      I further certify that I have electronically filed this day this Certificate with

the Clerk of the Court using the CM/ECF system which will automatically send e-

mail notification of such filing to the following attorneys of record:

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                                  Khalil C. Eaddy
                              Daniels and James, LLC
                          233 Peachtree St. NE, Suite 1200
                                Atlanta, GA 30303


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      This 26th day of January, 2022.
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